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Attorney for the State of Alaska

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 METLAKATLA INDIAN COMMUNITY, a
 Federally Recognized Indian Tribe,

               Plaintiff,
                                                     Case No.: 5:20-cv-00008-SLG
 v.

 MICHAEL J. DUNLEAVY, Governor of the                DEFENDANTS’ UNOPPOSED
 State of Alaska,                                    REQUEST FOR A
 DOUG VINCENT-LANG, Commissioner of                  TELEPHONIC CONFERENCE
 the Alaska Department of Fish and Game,             NUMBER
 and JAMES E. COCKRELL, Commissioner
 of the Alaska Department of Public Safety,

               Defendants.

         DEFENDANTS’ UNOPPOSED REQUEST FOR A TELEPHONIC
             CONFERENCE NUMBER FOR ORAL ARGUMENT
                 SCHEDULED FOR FEBRUARY 15, 2024

       The State requests a telephonic conference number so that those named in this

complaint as well as other attorneys at the State of Alaska may call in and listen and

review the oral argument in this matter.


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       The undersigned attorney contacted the Plaintiff’s attorneys and amicus attorney

in this matter. Both non-opposed the State’s request via email.

       DATED: February 15, 2024.
                                             TREG TAYLOR
                                             ATTORNEY GENERAL

                                             By:     /s/ Christopher F. Orman
                                                     Christopher F. Orman
                                                     Assistant Attorney General
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CERTIFICATE OF WORD COUNT
Consistent with Local Civil Rule 7.4(a), I certify that this document complies with the court-
ordered word count limit.

/s/ Christopher F. Orman
Christopher F. Orman
Assistant Attorney General

CERTIFICATE OF SERVICE
I hereby certify that on February 15, 2024, I electronically filed the foregoing by using the
CM/ECF system. Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system.

                                             By:     /s/ Christopher F. Orman
                                                     Christopher F. Orman
                                                     Assistant Attorney General
                                                     Alaska Bar No. 1011099




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